                                                               THIS ORDER IS APPROVED.


                                                               Dated: November 5, 2018


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 2                                                             Scott H. Gan, Bankruptcy Judge

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                        IN THE UNITED STATES BANKRUPTCY COURT
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                                FOR THE DISTRICT OF ARIZONA
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 9   In Re:                                             Chapter 11
10   RONALD AND ARLENE SILVER, husband                  Case No. 2:17-bk-07624-SHG
11   and wife,
                                                            ORDER RE APPLICATION
12                                Debtors.               PURSUANT TO 11 U.S.C. §§ 327(a)
                                                          AND 1107 AUTHORIZING THE
13
                                                         EMPLOYMENT AND RETENTION
14                                                       OF STEVE COOK AS ASSOCIATE
                                                          REAL ESTATE BROKER FOR
15                                                                 DEBTORS
16            This matter having come before this Court on Debtors’ Application For Order pursuant
17   to 11 U.S.C. §§ 327(A) And 1107 Authorizing The Employment And Retention Of Steve
18   Cook As Associate Real Estate Broker For Debtors (Docket Entry No. 133), and the deadline
19   to file objections having passed with no objections having been received, and good cause
20   appearing,
21            IT IS HEREBY ORDERED, approving the employment of Steve Cook as Associate
22   Real Estate Broker for lease and assisting Debtors with the actual lease of the Glendale End
23   Cap Space at 2701 West Glendale Avenue, Phoenix, Arizona.
24            Approval of employment of a professional person DOES NOT automatically approve
25   any fee arrangement set forth in the application or any attachments thereto. No fees are pre-
26   approved by the Court. Any request for a professional fee must be made separately, by a
27   detailed application supporting the request, notice must be given to creditors and other
28   parties-in-interest, and the Court must have an opportunity to review any objections which
 1   any party may have. The court may also consider the application in the absence of any
 2   objections, and may adjust the fees according to the merits of the particular case. 11 U.S.C.
 3   §§ 327, 328, 329, 330, and 331.
 4                        SIGNED AND DATED AS SET FORTH ABOVE
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